Case 1:21-cv-01477-RGA Document1 - Filed 10/20/21 Page1
94-1477

In the district court of the United States
Edward Thomas Kennedy, a living breathing man,
v.
FACEBOOK, Inc., a Delaware registered corporation,

MARK ZUCKERBERG, FACEBOOK, Inc., Chief Executive Officer,
MARK ZUCKERBERG, an individual

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JENNIFER NEWSTEAD, FACEBOOK, Inc., Chief Legal Officer,
JENNIFER NEWSTEAD, an individual,

MARC L. ANDREESSEN, FACEBOOK, Inc. Board Member,
and PETER A. THIEL, FACEBOOK, Inc. Board Member.

Defendants

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US. DISTRICT COURT
DISTRICT OF DELAWARE

Lawful Complaint / Request for Judgment

Request by Edward Thomas Kennedy, an American, for the Article 3 Court to order Defendants
et alia to discharge their past due debts without delay in lawful money, as defined herein and in

the True Bills, attached as evidence. (1)

Pursuant to my Constitutional Guarantees, I demand an Article 3 Court. Without interest and
accruals, Defendant's current unpaid debt outstanding totals $35350000.00, as defined herein and

as defined in recorded Fee Schedules, (1) and (5) attached herein as evidence.

Plaintiff is a living breathing man, born on Pennsylvania land and soil.

Defendant FACEBOOK, Inc., is a corporation, registered in the STATE OF DELAWARE, and is

legally dead. All other Defendants are all legal persons, all legally dead.

Defendant JENNIFER NEWSTEAD, Chief Legal Officer, FACEBOOK, Inc.,

and is located at 1601 Willow Rd Bldg 64 Menlo Park 94025-1452 according

is a legal person,
to New York State

BAR Attorney registrations, and it is presumed must accept Notice, also known as “service of

process" for all defendants. Link here:
https://iapps.courts.state.ny.us/attorneyservices/wicket/page?6.

Additionally, Facebook, Inc, is a corporation with no, known lawful charter to operate and
conduct commerce on American land and soil because only living, breathing men and women

Assembled may grant lawful charters.

Notice

Public Notice to Law Enforcement, Sheriffs, Elected Officials and Bar Association Members and

Court Clerks. (attached)

Notice

1 of 4.

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The Roman Curia created the concept of legal fictions-- trusts, foundations, and other
corporations for good reasons-- however, legal fictions can be misused.

. Lon | -
By Maxim of Law, those who create are responsible for their creations. It follows that the Roman
Curia is responsible for the proper functioning of all corporations worldwide. As of September 1,
2013, Pope Francis declared all corporations and corporate officers fully liable for their errors
and omissions. This means Law Enforcement, Sheriffs, Elected Officials, and Bar Association
Members.

Here are the Orders by Pope Francis that ALL “public officials” that are under the-jurisdiction of
the Vatican City State no longer have Immunity for the crimes they commit, primarily Judges in
America which includes the BAR Association. APOSTOLIC LETTER ISSUED MOTU
PROPRIO, http://w2.vatican.va/content/francesco/en/motu:_proprio/documents/papa-francesco-m
otuproprio_20130711_organi-giudiziari.html (attached) (3)

Statement and Evidence of Standing

I am an American standing under the Public Law, and demanding my Constitutional guarantees.
Lawful evidence of this said political status is recorded as follows:

1. at The United States of America Land Recording System
Recording #: Pa06-2020-2020000012, and Recording #: Pa06-2020-2020000004,
link here: https: search. americaunincorporated. org/ enter Edward Kennedy

2. at Recorder's Office Flathead County Recording District
Record # 202000002903, link https://flathead.mt.gov/clerk_recorder/. (attached) (4)

I belong to no parish. I am not a priest. I am not a Papal Knight. Based on evidence, I presume
Pope Fransis, as Global Trust fiduciary, knows that I am a living, breathing man, with feet firmly
on Pennsylvania land and soil.

Pursuant to UNITED STATES SECURITIES AND EXCHANGE COMMISSION, Washington,
D.C. 20549, FORM 10-K, ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF
THE SECURITIES EXCHANGE ACT OF 1934, for the fiscal year ended December 31, 2020,
Facebook, Inc. (Exact name of registrant as specified in its charter) is a Delaware corporation ID
number XX-XXXXXXX, and 1601 Willow Road, Menlo Park, California 94025 is the registered
address of principal executive offices and Zip Code, MARK ZUCKERBERG is founder,
Chairman, and' CEO, and as CEO has control over key decision making as a result of his control
of a majority of the voting power of our outstanding capital stock. MARC L. ANDREESSEN,
FACEBOOK, Inc. Board Member, and PETER A. THIEL, FACEBOOK, Inc. Board Member,
are both Governance Committee Members. Source: Links
https://www.sec.gov/Archives/edgar/data/ 1326801/000132680119000009/fb-123120 18x10k. hon
and the Facebook corporation website, and
https://d18m0p25nwr6d.cloudfront.net/CIK-0001326801/4dd7fa7f-1a5 1-4edo-bOaF-714200332 le
b.pdf

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JENNIFER NEWSTEAD is Facebook Inc. Chief, Legal Officer. JENNIFER NEWSTEAD ._ .
eamed nearly. $19.14.million in total compensation in her first year with FACEBOOK, Inc., .
according to a 2019 proxy:statement filed by. the company April 10, 2020. Published Source: _.
https://news.bloomberglaw. comvesg/facebooks-first-year-general-counsel-earns- 19-million.; —-
JENNIFER NEWSTEAD. is a STATE.OF NEW YORK BAR Attorney; Registration Number: ..
2817864, source, link here: https://iapps.courts.state.ny. Us/attomeyservices/wickew/page?2

Pursuant to Fee Schedules Recording #: Pa06-2021-2021000025, (attached), ©
said corporation and said legal persons owe me for the following: a

s... Fraud.- es Pepsi oy + ye =©§1000000.00* ;
t. “Racketeering. Page ah $1000000. 90"
y. Use of. Common-law Trade-name/Trade-mark ye at
, a Sd eg $. 0000.00 Each .
j. Personage - Co ... +, §$100000000. .: .-:. -

J

k. Privateering co a ae» $100000000: «

1. Inland piracy $100000000

Total p per defendant $5050000.00 —
Times seven defendants*** 000. 0 ee gS. oe , $35350000.00.--

*Per Occurrence and Includes any Third Party Defendant

** All claims are stated in US Dollars which means that a.US. Dollar will be defined, for this
purpose as a One Ounce Silver Coin of .999 pure silver or the equivalent par value as established
by law or the exchange rate, as set by:the US Mint, whichever is the higher amount, for a
certified One Ounce Silver Coin (US Silver. Dollar) at the time of the first day-of default as.set -
forth-herein; if the claim is to-be paid in Federal-Reserve Notes, Federal Reserve Notes: will only
be assessed at Par Value as indicated above.

*«* FACEBOOK, Inc., MARK ZUCKERBERG, Chief Executive Officer, MARK: ee
ZUCKERBERG, an individual, JENNIFER NEWSTEAD, Chief Legal Officer, .
JENNIFER NEWSTEAD, an individual, MARC L. ANDREESSEN, FACEBOOK, Inc. ‘Board -
Member, and PETER A. THIEL, FACEBOOK, Inc. Board Member, .

On October 13th 2021, the New York Post ran a front page story, titled "Facts about Zuck Bucks:
How he helped swing the electorate in 2020" by Mollie Hemingway.-Link here: |
https://nypost.com/2021/10/13/how-mark-zuckerberg-helped-swing-the-electorate-in-the-2020-el
ection/#

This said article explains how MARK ZUCKERBERG used backdoor “support” donations to
twist the outcomes of the 2020 elections in this country, and not just the Presidential Election —
all elections down to the county level, for just $419 million bucks. A whole country bought and
sold for less than half a billion. There are times when we all must admit that some <ahem>
criminals are smarter than others, and then look —despite my amazement— at the maze of legal
loopholes and creeping corruption that have allowed this to happen in America. Instead of 19th
Century Robber Barons at the trough, faceless Facebook, Inc. is an unaccountable,

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made-up-out-of-thin-air corporation at the trough — claiming all the same rights, prerogatives,
and protections as me a living people, a Living man with Inherited Sovereignty born on
Pennsylvania land and soil. Put in plain language, Zuckerberg bought the election via a
payola/kickback scheme. Can we the people punish Zuckerberg and his Board of Directors and
everyone else responsible? Possibly. Perhaps later by this man in another time and place.

Judgment Requested

1. Orders all Defendants to pay their past due debts which is $35350000.00 in lawful
money via wire transfer to my state chartered credit union.

2, Order FACEBOOK, Inc. to correct all it's records to reflect the Plaintiff's political status.
3. Order FACEBOOK, Inc. to prove that it possesses a lawful charter to operate on the land
and soil of The United States of America (unincorporated), or Order the said corporation
dissolved with ownership returned to the living American men and women.

4, Order FACEBOOK, Inc., it's Officers and employees and Board Members to obey the
Public Law of America, or else face criminal charges in this Article 3 Court.

Notice to Principal is Notice to Agent. Notice to Agent is Notice to Principal. Applicable to all
Successors and Assigns.

So said, so signed, so sealed on this 18th day of October in the year 2021.

By: Flume omns kepet Je ©

Edward Thomas Kennedy©
Without prejudice, all rights reserved.

Enclosed:
Ly Seven True Bills - past due - plus Notices (14 pages), and USPS signed PS Form 3811,
Letter RE 018 222 475 US and USPS Tracking - Delivered (2 pages)
2. Public Notice to Law Enforcement, Sheriffs, Elected Officials and Bar Association Members and
Court Clerks. (2 pages)
3. APOSTOLIC LETTER ISSUED MOTU PROPRIO OF THE SUPREME PONTIFF
FRANCIS ON THE JURISDICTION OF JUDICIAL AUTHORITIES OF VATICAN CITY STATE IN
CRIMINAL MATTERS, (3 pages).
4. Lawful evidence of this said political status is recorded as follows:
at Recorder's Office Flathead County Recording District
Record # 202000002903, Certified Copy
link https://flathead.mt.gov/clerk_recorder/ (15 pages).
5. Notarized Fee Schedules Recording #: Pa06-2021-2021000025 Land Recording (9 pages)

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To: JOHN A. CERINO, CLek /<

Wilwivg dm, DE (78

US, DISTRICT COURT
DISTRICT OF DELAWARE

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